            Case 1:20-cv-00351-SPB Document 9 Filed 02/17/21 Page 1 of 1



                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  PENNSYLVANIA GENERAL ENERGY                     )
  COMPANY, LLC,                                   )
                                                  )   Civil Action No. 20-cv-351 ERIE
                Plaintiff,                        )
       v.                                         )   District Judge Susan Paradise Baxter
                                                  )
  GRANT TOWNSHIP OF INDIANA COUNTY                )
  AND THE GRANT TOWNSHIP BOARD OF                 )
  SUPERVISORS,                                    )
                                                  )
               Defendants.                        )


                             ORDER GRANTING THE PARTIES’
                     JOINT MOTION FOR STAY AND EXTENSION OF TIME

       THIS 16th day of      February    , 2021, the Court GRANTS the Parties’ Joint Motion for

Stay and Extension of Time and enters the following ORDER:

       1. This matter is stayed pending the resolution of the proceeding before the

Pennsylvania Commonwealth Court in the case Pennsylvania Department of Environmental

Protection v. Grant Township of Indiana County and the Grant Township Board of

Supervisors, No. 126 M.D. 2017;

       2. The Parties will advise the Court of the outcome of the Commonwealth Court

proceeding within ten days of receiving the same and propose a case management order for

the Court’s consideration; and

       3. Defendants’ time to respond to the Complaint is extended for 30 days after the stay

expires. The case will be administratively closed during the stay.




                                                      The Honorable Susan Paradise Baxter
                                                      United States District Judge
